Case No. 1:20-cv-00742-DDD-KAS Document 404 filed 04/23/24 USDC Colorado pg 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO




   Civil Action No.: 1:20-cv-00742-DDD-KLM

   JAMES COREY GOODE, Individually, and
   GOODE ENTERPRISE SOLUTIONS INC.,

   Plaintiffs, Counter-Defendants

   v.

   GAIA, INC.,
   Alyssa Chrystie Montalbano, Individually

   Defendants, Counter-Claimants,


   ----


   Alyssa Chrystie Montalbano, Individually

   Third-Party Plaintiff,

   v.

   LIGHT WARRIOR LEGAL FUND, LLC.
   Valerie Yanaros,
   David Wilcock,
   THE WILCOCK SPIRITUAL HEALING AND EMPOWERMENT FOUNDATION
   Third-Party Defendants.




                                              1
Case No. 1:20-cv-00742-DDD-KAS Document 404 filed 04/23/24 USDC Colorado pg 2 of 3




                                        NOTICE OF APPEAL



          Pursuant to Fed. R. App. P. 3 and 4, Third-Party Plaintiff, Counter-Claimant, and

   Pro Se Litigant, Ms. Alyssa Chrystie Montalbano, files this Notice of Appeal to the

   United States Court of Appeals for the Tenth Circuit from the order entered

   March 29, 2024 [#384]; as pertaining to the Judgment [#346], Motion to Amend

   Dismissal Orders and Judgment [#355], Motion to Amend Complaint [#355, #361],

   Motion to Stay [#383], and all other matters deemed merged with the appealable order.


   Dated this 23rd day of April 2024.



                                                   Respectfully Submitted and All Rights
                                                   Reserved,

                                                   /s/ Alyssa Chrystie Montalbano

                                                   Pro Se Litigant, Defendant, Counter-Claimant,
                                                   Third-Party Plaintiff, Paralegal Student

                                                   970.250.8365
                                                   2536 Rimrock Ave
                                                   Suite 400-117
                                                   Grand Junction, CO 81505
                                                   E-mail: LegalZenACM@gmail.com




                                               2
Case No. 1:20-cv-00742-DDD-KAS Document 404 filed 04/23/24 USDC Colorado pg 3 of 3




                                  CERTIFICATE OF SERVICE

   I certify that on this 23rd day of April 2024 a copy of the foregoing Notice was filed with the
   clerk of the court using the CM/ECF system and are lawfully served upon Plaintiff’s Counsel
   and appeared Defendants through the Case Management/Electronic Case Filed (CM/ECF) court
   filing system (FRCP Rule 5), and a courtesy copy delivered via USPS mail upon Mr. David
   Wilcock and THE WILCOCK SPIRITUAL HEALING AND EMPOWERMENT
   FOUNDATION via appointed agent, Mr. Tim Harris, located at 7848 W Sahara Ave, Las Vegas,
   NV 89117.

   /s/ Alyssa Montalbano

   Alyssa Montalbano, Pro Se Litigant, Paralegal Student




                                                 3
